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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                                      Docket No. 3:17-cr-240-MPS

v.

LISA REID

                                    RESTITUTION ORDER

I.     Restitution Liability


     A. Restitution Amount

       The Defendant, LISA REID , shall pay restitution in the amount of
       $ $999,828.77 pursuant to 18 U.S.C. § 3663A.

       ☐ This amount includes                                      in prejudgment interest.
        The Court does not order the inclusion of prejudgment interest.
       □ The Court acknowledges that a restitution payment in the amount of
            $_____________ was paid to ______________ on ______________ and said
            payment is credited to the amount of restitution imposed.

     B. Joint and Several Liability

       ☐ Restitution is joint and several with defendant(s) _________________________
       in case numbers _______________________________________
       ☐ Restitution is joint and several with defendant(s) not presently named.
        Restitution is not joint and several with other defendants or with others not named
       herein.
                 ☐   Optional: Rather, pursuant to 18 U.S.C. § 3664(h), the Court has apportioned
                     liability among the defendants to reflect the level of contribution to the victim’s
                     loss and the economic circumstances of each defendant.


     C. Apportionment Among Victims

        Pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United
States is paid. Restitution shall be paid to the victim(s) identified in Schedule A attached hereto
on a (select one):


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       ☐ pro rata basis, whereby each payment shall be distributed proportionally to each victim
       based upon the amount of loss for each victim, as set forth more fully in Schedule A.
       ☐ percentage basis, as set forth more fully in Schedule A.
        specified basis, as set forth more fully in Schedule A.
II.    Interest

        The Defendant shall pay interest on any restitution amount of more than $2,500.00,
unless restitution is paid in full before the fifteenth day after the date of the judgment, in
accordance with 18 U.S.C. § 3612(f)(1).

        All interest is waived pursuant to 18 U.S.C. § 3612(f)(3)(A).
       ☐ Accrual of interest is limited to $ ___________ pursuant to 18 U.S.C. § 3612(f)(3)(B).
       ☐ Interest shall accrue only during the period of                           pursuant to
       18 U.S.C. § 3612(f)(3)(C).
        All interest is waived by the Government pursuant to 18 U.S.C. § 3612(h).
       ☐ The following portion of interest is waived by the Government pursuant to 18 U.S.C.
       § 3612(h): ______________________________

         If a restitution payment is more than 30 days late, it is delinquent, and the Defendant shall
pay, as a penalty, an amount equal to 10 percent of the principal amount that is delinquent. If a
restitution payment is delinquent for more than 90 days, it is in default, and the Defendant shall
pay as a penalty an additional amount equal to 15 percent of the principal amount that is in
default. All penalties shall accrue, unless waived by the Government.

         All penalties are waived by the Government pursuant to 18 U.S.C. § 3612(h).
III.   Time and Method of Payment

        Pursuant to 18 U.S.C. § 3664(f)(2), in consideration of the financial resources and other
assets of the Defendant, including whether any of these assets are jointly controlled; projected
earnings and other income of the Defendant; and any financial obligations of the Defendant;
including obligations to dependents, the Defendant is hereby ordered to pay restitution in the
manner and according to the schedule that follows:

☐ A.   The total amount of restitution is due and payable immediately pursuant to 18 U.S.C.
§ 3572(d)(1):
          ☐ upon entry of this judgment.
          ☐ on the following date: ____________.
      In the case of a Defendant who is sentenced to a term of imprisonment, any unpaid
amount remaining upon release from prison will be paid:

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          ☐ in lump sum, immediately.
          ☐ in installments of not less than $__________, payable on the ______ of each month.
          ☐ as specified by the Court: ________________________________________

 B. In the interest of justice, restitution shall be payable in installments pursuant to 18 U.S.C.
§ 3572(d)(1) and (2).

       1. The Defendant shall commence installment payments:
          ☐ immediately upon entry of this judgment.
           upon release from prison.
          ☐ on the following date: ____________.
          ☐ as specified by the Court: ___________________________________________.
      2. While serving the term of imprisonment, the Defendant shall make installment
payments as follows:

          ☐ The Defendant shall pay no less than $ ____________.
          ☐ in an amount equal to ______ percent of gross income.
          ☐ as specified by the Court: ______________________________________
       3. After completion of the term of imprisonment or if the Defendant is not sentenced to a
term of imprisonment, the Defendant shall make installment payments as follows:

          ☐ no less than $___________.
          ☐ in an amount equal to ___________ percent of the Defendant’s gross income.
          ☐ as specified by the Court: _______________________________________.
IV.    Payment Instructions

        The Defendant shall make payment to the Clerk of Court. Payment may be made in the
form of cash, check or money order. All payments by check or money order shall be made
payable to the “Clerk, United States District Court,” and each check shall be delivered to the
United States District Court, Attention: Clerk’s Office, as required by 18 U.S.C. § 3611. The
Defendant shall write the docket number of this case on each check delivered to the Clerk’s
Office. Any cash payments shall be hand delivered to the Clerk’s Office using exact change, and
shall not be mailed.




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